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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Hearing Date: October 1, 2024 at 2:00 p.m. (ET)

                                                                Ref. Nos. 25637 & 25671

           DEBTORS’ REPLY IN SUPPORT OF THE MOTION OF DEBTORS
         FOR ENTRY OF AN ORDER QUASHING THE LAYERZERO PARTIES’
                 NOTICE OF DEPOSITION OF JOHN J. RAY III

                 FTX Trading Ltd. (“FTX Trading”) and its affiliated debtors and debtors-in-

possession (collectively, the “Debtors”) hereby submit this reply (this “Reply”), in support of the

Motion of Debtors for Entry of an Order Quashing the LayerZero Parties’ Notice of Deposition of

John J. Ray III [D.I. 25637] (the “Motion”) 2 and in response to the objection by LayerZero Labs

Ltd., Ari Litan, and Skip & Goose LLC (collectively, “LayerZero”) filed on September 25, 2024

[D.I. 25671] (the “Objection”). The Debtors respectfully request that the Objection be overruled

and the Motion granted.




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion,
    and the Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtors Affiliates
    [D.I. 26029] (the “Plan”), as applicable.
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                                                   Reply

                1.       LayerZero strains to find ways to argue that it needs to depose the Debtors’

Chief Executive Officer immediately in connection with the Plan Confirmation Hearing because

no one else can possibly explain the (allegedly) “as-of-yet unknown underlying basis for excluding

each of the LayerZero Group’s members from sharing in the fruits of the Customer Preference

Settlement.” (Obj. ¶ 2.) But the basis for the Debtors declining to make an offer of settlement—

something they are not obligated to do—is straightforward and set out in Section 5.5 of the Plan

and Section 4.E.5 of the Disclosure Statement. LayerZero’s flawed Plan Objection arguing that

the Debtors must have offered the Customer Preference Settlement to them is a legal argument

that the Debtors addressed in their Confirmation Reply 1 and will address further at the

Confirmation Hearing.

                2.       From an evidentiary standpoint, the Customer Preference Settlement is

addressed in the Declaration of Steven P. Coverick in Support of Confirmation of the Second

Amended Joint Chapter 11 Plan of Reorganization of FTX Trading, Ltd. and its Affiliated Debtors,

filed on September 30, 2024. In addition, the Debtors have agreed to provide a witness—who has

been designated as Mr. Coverick—to answer questions within the scope of LayerZero’s Plan

Objection in response to the Notice of Rule 30(b)(6) Deposition directed to the Debtors that

LayerZero served on the topic of the Customer Preference Settlement.                     That deposition is

proceeding on October 1, 2024. The Debtors are not denying LayerZero discovery on the topic

but rather maintain that a deposition of Mr. Ray neither necessary nor appropriate.




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    See Debtors’ Omnibus Reply to Objections to Confirmation of the Second Amended Joint Plan of Reorganization
    of FTX Trading Ltd. and its Affiliated Debtors at pp. 6-13.



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                3.    Furthermore, the context in which LayerZero’s request to depose Mr. Ray

arose is telling, and, as detailed in the Motion, reveals that LayerZero seeks nothing more than to

harass Mr. Ray and burden the Debtors on the eve of the Confirmation Hearing after LayerZero’s

attempt to take an early deposition of Mr. Ray in the Avoidance Action fell flat.

                4.    Section 5.5 of the Plan specifies the criteria that the Debtors used to

determine which Customer Preference Actions will be designated as Excluded Customer

Preference Actions, and therefore excluded from the group of customers to whom the Customer

Preference Settlement was offered. Why the actions against LayerZero Labs Ltd. (“Layer Zero

Labs”), Ari Litan and Skip & Goose LLC (“Skip & Goose”) appear as Excluded Preference

Actions is clear from even a cursory review of the circumstances and the Avoidance Action

allegations.

                5.    For example, the Debtors have asserted multiple Causes of Action against

LayerZero Labs in the Avoidance Action “other than a claim arising under a Customer Preference

Action.” (Plan § 5.5; Mot. ¶¶ 11-13) Mr. Litan was LayerZero Labs’s Chief Operating Officer

and thus one of the Affiliates of an entity against which the Debtors have a requisite “Cause of

Action.” (Plan § 5.5.) Mr. Litan has a 100% interest in Skip & Goose and is its only member.

[Adv. Pro. D.I. 1 ¶ 27.] Further, Mr. Litan represented, in creating an FTX US account for Skip

& Goose, that he was its source of funds. [Id.] Thus, Mr. Litan’s knowledge can be imputed to

Skip & Goose and Skip & Goose is likely his alter ego.

                6.    These and many other allegations will be litigated in the Avoidance Action

in due course. None need to be resolved or conclusively established now. But given that the

Debtors have alleged these and other facts in litigation plainly demonstrates that LayerZero is




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differently situated than other customer preference defendants, and the Debtors’ declination to

make the Customer Preference Settlement offer to LayerZero at this time was reasonable.

               7.      LayerZero turns well-established law regarding the apex doctrine on its

head by arguing that the Debtors have the burden to prove both that Mr. Ray does not have

superior, unique knowledge of the information sought by LayerZero and that there are other, less

burdensome sources for discovery. (Obj. ¶¶ 17, 20-23.) This is wrong. Although the Debtors

must show undue burden sufficient to justify a protective order under Federal Rule 26(c), the apex

doctrine eases this burden by establishing “a rebuttable presumption that a high-level official's

deposition represents a significant burden upon the deponent and that this burden is undue absent

the two factors set forth in the apex doctrine, which go to the lack of a more convenient, less

burdensome, and less expensive alternative.” United States ex rel. Galmines v. Novartis Pharms.

Corp., 2015 WL 4973626, at *2 (E.D. Pa. Aug. 20, 2015) (emphasis added).

               8.      Thus, LayerZero has the burden to establish that its noticing of Mr. Ray’s

deposition was proper by showing (i) that Mr. Ray “has personal or superior unique knowledge of

the facts alleged” and (ii) “why the information sought (whatever, specifically, it may be) could

not be obtained from lower level employees or through less burdensome means.” Id. LayerZero

has failed to carry its burden in three ways.

               9.      First, LayerZero failed to provide any evidence that Mr. Ray has superior,

unique knowledge of the issues raised in the Plan Objection, which is, at bottom, a legal argument.

This failure is dispositive and shows that the deposition notice should be quashed. See Amaya v.

Ballyshear LLC, 2021 WL 12101052, at *2 (E.D.N.Y. Sept. 30, 2021) (granting a protective order

because the record was “devoid of information to demonstrate that [the senior executive] possesses

any unique knowledge to overcome the apex doctrine”).




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                 10.      Lacking the necessary evidence to carry its burden, LayerZero resorts to

simply insisting that Mr. Ray must have “personal, unique, and superior knowledge that compels

him to appear for a deposition” because “[t]here is no other principal, officer, or employee of the

Debtors . . . who can provide percipient testimony on these issues.” (Obj. ¶ 19.) Not so. Nowhere

does the apex doctrine require that Mr. Ray have superior, unique knowledge compared to other

employees only, and LayerZero cites no authority to support this artificial boundary. Indeed, such

a boundary would ignore reality. The Debtors are in the process of liquidating following the well

documented fraud committed by Mr. Bankman-Fried and others prepetition. As a result, the

Debtors do not have a cadre of lower-level executives or employees who serve under Mr. Ray.

Instead, many of those roles are (rightfully) filled by the Debtors’ retained professionals, including

the Debtors’ financial advisors at Alvarez & Marsal North America, LLC. Thus, Mr. Ray is not

alone “on a flat plain,” and LayerZero’s attempt to place him there cannot change the fact that

LayerZero failed to demonstrate that Mr. Ray has any superior, unique knowledge of the issues

raised in the Plan Objection. 2

                 11.      LayerZero cannot avoid this conclusion by asserting that Mr. Ray signed

the Plan and was “closely involved” with portions of the Plan. (Obj. ¶ 19.) Merely signing a

document or approving a course of action does not automatically provide an executive with

superior, unique knowledge. Ford Motor Co., 2011 WL 677331, at *4 (requirement that executive




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    LayerZero similarly attacks the authority cited in the Motion, arguing that the Debtors’ cases are distinguishable
    because “there were available lower-level executives or employees who were equally involved in the relevant
    issues.” (Obj. ¶ 18 (citing Ford Motor Co. v. Edgewood Properties, Inc., 2011 WL 677331, at *4 (D.N.J. Feb.
    15, 2011); Younges v. 7-Eleven, Inc., 2015 WL 12844446, at *2 (D.N.J. Aug. 19, 2015).) This is incorrect. As
    already explained, here there are other individuals with relevant knowledge and the Debtors are relying on one—
    Mr. Coverick—as a witness at the Confirmation Hearing. Moreover, the only reason the Ford court denied a
    motion to quash an apex deposition was because it specifically found, based on submitted evidence, that the
    executive had “superior and unique knowledge.” Ford Motor Co., 2011 WL 677331, at *3. LayerZero has
    provided no such evidence here.



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sign and approve any sale did “not rise to the level of superior knowledge.”); see also Amaya, 2021

WL 12101052, at *2 (“an executive's status as a ‘direct supervisor’ does not immediately confer

the requisite ‘unique knowledge’ required to defeat the apex doctrine”). Here, LayerZero has

failed to come forward with the kind of evidence that the very authorities it cites turned on. See

In re Tylenol (Acetaminophen) Mktg., Sales Pracs. & Prod. Liab. Litig., 2014 WL 3035791, at *3

(E.D. Pa. July 1, 2014) (discussing “documents, which . . . show very clearly that [the high-ranking

executive] was actively involved in [the relevant] decision making” and that knowledge was

“unique to him”).

               12.     Second, LayerZero wrongly attempts to place the burden on the Debtors to

show that there are “other, less burdensome” sources for the discovery that LayerZero seeks. (Obj.

¶ 20.) But this is LayerZero’s burden. Novartis Pharms. Corp., 2015 WL 4973626, at *2. To

carry it, LayerZero must demonstrate that “the information [it] want[s] cannot be obtained from

other witnesses.” Younges, 2015 WL 12844446, at *2. LayerZero has, however, failed to explain

why any relevant information it is seeking cannot be obtained through its upcoming Rule 30(b)(6)

deposition of the Debtors. Moreover, the Debtors’ designated witness, Mr. Coverick, is the same

individual who the Debtors are relying on at the Confirmation Hearing with respect to the

Customer Preference Settlement.

               13.     Yet LayerZero argues that Rule 30(b)(6) testimony is “not a substitute for

Mr. Ray’s testimony” because individual depositions are based on “personal knowledge, whereas

Rule 30(b)(6) seeks testimony from prepared witnesses that will bind an organization regardless

of their personal knowledge.” (Obj. ¶ 22.) But this distinction is irrelevant. Courts have

repeatedly applied the apex doctrine to bar depositions where relevant information could be

obtained through less burdensome means such as “interrogatory requests to deponents or a 30(b)(6)




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deposition.” Reif v. CNA, 248 F.R.D. 448, 454 (E.D. Pa. 2008); see also Ford Motor Co., 2011

WL 677331, at *4 (despite CEO approving sale, “the facts surrounding the sale . . . are more

appropriately gleaned from other lower-level executives, or through answers to interrogatories”).

LayerZero’s attempts to distinguish such cases by claiming that those courts relied on the existence

of “lower level employees” are unavailing. (Obj. ¶ 21.). The apex doctrine applies where

“information [cannot] be obtained from lower level employees or through less burdensome

means.” Novartis Pharms. Corp., 2015 WL 4973626, at *2 (emphasis added). The fact that lower

level employees may be a less burdensome source of information does not mean that they are the

only potentially less burdensome source. See Reif, 248 F.R.D. at 454; Roman v. Cumberland Ins.

Grp., 2007 WL 4893479, at *1 n.1 (E.D. Pa. Oct. 26, 2007) (explaining that a Rule 30(b)(6)

deposition is a valid alternative to an apex deposition).

               14.     As to the burden associated with deposing Mr. Ray, LayerZero again resorts

to turning black letter law on its head by arguing that “[t]he Debtors do nothing to establish that

Mr. Ray would endure any improper burden” by being deposed. (Obj. ¶ 23.) But it is LayerZero’s

burden to overcome the presumption that the deposition is an undue burden. (See ¶ 7, supra.) And

LayerZero cannot meet this burden by facetiously asserting that “Mr. Ray is not preparing for the

confirmation hearing” and “is not in the throes of running an operational company.” (Obj. ¶ 23.)

As LayerZero admits, Mr. Ray has to “navigate the Debtors through bankruptcy” (id.), and it

cannot be denied that these bankruptcy proceedings are at a critical juncture. The Debtors have

been actively working to resolve outstanding disputes and build consensus around their Plan, and

Mr. Ray necessarily must be involved in those and many other activities day-to-day.

               15.     Finally, LayerZero claims that its repeated attempts to depose Mr. Ray are

not harassment because LayerZero is just attempting to understand why Mr. Litan and Skip &




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Goose have been excluded from the Customer Preference Settlement and “the facts and factors

that went into the decision to exclude them.” (Obj. ¶ 24.) This is nonsense. As noted above, the

answers to LayerZero’s questions are perfectly clear from the public record and Mr. Coverick’s

testimony. LayerZero sought Mr. Ray’s early deposition in the Avoidance Action prior to the

Confirmation Hearing despite knowing that he could not possibly have relevant knowledge of the

transactions at issue in that proceeding. After that failed, LayerZero simply pivoted to this

purported Plan Objection deposition (see Mot. ¶¶ 17-24), but their objective to harass and

“severe[ly] burden” the Debtors is the same. Novartis Pharms. Corp., 2015 WL 4973626, at *1.

Accordingly, the Court should not countenance these tactics and instead overrule the Objection,

grant the Motion, and enter the Proposed Order.




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